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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE



 CROSSPOINT CHURCH,


 Plaintiff,


                        v.


 A. PENDER MAKIN, in her official capacity as           Civil Action No. 23-cv-00146-JAW
 Commissioner of the Maine Department of
 Education, and JEFFERSON ASHBY, EDWARD
 DAVID, JULIE ANN O’BRIEN, MARK
 WALKER, and THOMAS DOUGLAS, in their
 official capacities as Commissioners of the Maine
 Human Rights Commission.


 Defendants.



                 JOINT MOTION TO EXTEND DISCOVERY DEADLINES
        On March 27, 2023, Plaintiffs filed a complaint (Dkt. 1) and Motion for Preliminary

Injunction (Dkt. 5) challenging the current statutory framework governing participation of

religious schools in Maine’s tuitioning program. This Court granted the parties’ joint motions to

amend the scheduling order on September 14, 2023 (Dkt. 33) and November 17, 2023 (Dkt. 35).

Under the amended scheduling order, the deadline to make a written settlement demand,

complete discovery, and other related deadlines are quickly approaching. They are as follows:

    §   Deadline to Make a Written Settlement Demand on Defendants: January 16, 2024
    §   Deadline to Complete Discovery: January 30, 2024
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   §   Deadline to file Notice of Intent to file Motion for Summary Judgment and Need for a
       Pre-Filing Conference Pursuant to Local Rule 56(h): February 6, 2024
   §   Deadline for Filing of All Dispositive Motions and All Daubert and Kumho Motions
       Challenging Expert Witnesses with Supporting Memoranda: February 20, 2024
   §   Expected Trial Date: May 7, 2024

       Plaintiff’s Motion for Preliminary Injunction is still pending, and the Court’s resolution

of that motion will directly affect discovery and related proceedings in this case. It would thus

promote interests of efficiency to extend these deadlines by an additional 60 days. This Court

may extend a deadline “if a request is made[] before the original time or its extension expires.”

Fed. R. Civ. P. 6(b)(1)(A).

                                         CONCLUSION
       The Court should grant this motion and extend all remaining deadlines listed in the

amended scheduling order (Dkt. 35) by 60 days.

Dated: January 12, 2024                                     Respectfully submitted,

s/Christopher C. Taub                                       /s/ Patrick Strawbridge__
Christopher C. Taub                                         Patrick Strawbridge (Bar No. 10024)
Chief Deputy Attorney General                                 Lead Counsel
Office of the Attorney General                              Consovoy McCarthy PLLC
State House Station 6                                       Ten Post Office Square
Augusta, ME 04333                                           8th Floor South PMB #706
(207) 626-8800                                              Boston, MA 02109
Christopher.C.Taub@maine.gov                                (703) 243-9423
                                                            patrick@consovoymccarthy.com
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                            CERTIFICATE OF COMPLIANCE

       I certify that this motion complies with the length and typeface requirements of Local

Rule 7(d).

Dated: January 12, 2024                               Respectfully submitted,

                                                      /s/ Patrick Strawbridge
/s/Christopher C. Taub
                                                      Patrick Strawbridge (Bar No. 10024)
Christopher C. Taub
                                                        Lead Counsel
Chief Deputy Attorney General
                                                      Consovoy McCarthy PLLC
Office of the Attorney General
                                                      Ten Post Office Square
State House Station 6
                                                      8th Floor South PMB #706
Augusta, ME 04333
                                                      Boston, MA 02109
(207) 626-8800
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                                CERTIFICATE OF SERVICE

       I certify that, on January 12, 2024, I electronically filed the foregoing with the Court and

served it on opposing counsel through the Court’s CM/ECF system.


                                                             Respectfully submitted,

/s/Christopher C. Taub                                       /s/ Patrick Strawbridge
Christopher C. Taub                                          Patrick Strawbridge (Bar No. 10024)
Chief Deputy Attorney General                                  Lead Counsel
Office of the Attorney General                               Consovoy McCarthy PLLC
State House Station 6                                        Ten Post Office Square
Augusta, ME 04333                                            8th Floor South PMB #706
(207) 626-8800                                               Boston, MA 02109
Christopher.C.Taub@maine.gov                                 (703) 243-9423
                                                             patrick@consovoymccarthy.com
